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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

RUSSELL JOHNSON,                             )
                                             )
      Plaintiff,                             )
                                             )
v.                                           )         CASE NO. 3:24-CV-360-KFP
                                             )
TUSKEGEE UNIVERSITY, et al.,                 )
                                             )
      Defendants.                            )

                         UNIFORM SCHEDULING ORDER

      Please read this order carefully. These deadlines and responsibilities may not
be changed without leave of court. All parties are expected to comply with each
provision of this Order in a timely manner. The parties are also expected to comply
with the Middle District’s Local Rules and the Middle District’s Guidelines to Civil
Discovery Practice, both of which can be found at www.almd.uscourts.gov.

      Under Rule 16, Federal Rules of Civil Procedure, the Court is required to set a
schedule for discovery and the filing of motions. Accordingly, it is ORDERED as
follows:

       SECTION 1. Trial and Pretrial Dates. A pretrial conference is scheduled for
September 8, 2025, at 10:00 a.m. in Courtroom 5A, Frank M. Johnson, Jr. U.S.
Courthouse, Montgomery, Alabama. This case is set for a jury trial during the term of
court beginning November 3, 2025, at 10:00 a.m. in Opelika, Alabama, before United
States Magistrate Judge Kelly Fitzgerald Pate.

      The parties are DIRECTED to prepare a joint proposed pretrial order, and Plaintiff
must email the proposed order to the Court at propord_pate@almd.uscourts.gov in Word
format by September 2, 2025. A sample pretrial order can be found on the Court’s
website at www.almd.uscourts.gov/about/rules-orders-and-procedures.

       SECTION 2. Dispositive Motions. Dispositive motions, e.g., motions for
summary judgment, must be filed by May 12, 2025. A brief and all supporting evidence
must be filed with any dispositive motion. In all briefs, the discussion of evidence in the
brief must include a specific reference, by page and line, to where the evidence can be
found in a supporting deposition or document. Failure to make a specific reference
may result in the evidence not being considered by the Court.
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       Daubert motions must be filed by the dispositive motions deadline unless the
deadline is modified by the Court on motion of a party demonstrating good cause.

       SECTION 3. Mediation. Middle District of Alabama Local Rule 16.1 concerning
the voluntary nature of the Court’s mediation program is hereby suspended and the
following mandatory mediation obligation is to be followed. All other aspects of L.R.
16.1 continue to apply. No later than April 11, 2025, all remaining parties must mediate
this case with either a private mediator mutually agreeable to the parties (and at a cost to
be borne by the parties as they agree) or a magistrate judge free of charge. If the parties
choose to mediate by a magistrate judge, they must notify the Court and provide the
magistrate judge assigned for mediation with three agreed-upon dates for mediation. Not
more than FIVE BUSINESS DAYS after mediation, counsel for the plaintiff must file a
document titled “Notice Concerning Mediation.” This notice must indicate whether
settlement or a resolution was reached short of a trial.

       SECTION 4. Amendments to Pleadings. Amendments to pleadings by motion or
notice of consent under FED. R. CIV. P. 15 must be filed by the Plaintiff by November 29,
2024, and by the Defendant by December 29, 2024.

       SECTION 5. Class Certification. Neither party has alleged that this is a class
action. No motion for class certification may be filed without leave of the Court.

       SECTION 6. Responses to Motions. The failure to file a response to any
motion—either dispositive or non-dispositive—within the time allowed by the Court will
indicate no opposition to the motion.

        SECTION 7. Discovery Cutoff. All discovery must be completed by April 11,
2025.

       SECTION 8. Expert Witness Disclosures. The parties must disclose to each
other the identity of ANY person who may be used at trial to present evidence under
Rules 701, 702, 703, or 705 of the Federal Rules of Evidence and provide the reports of
retained experts or witnesses whose duties as an employee of the party regularly involved
giving expert testimony, required by Rule 26(a)(2) of the Federal Rules of Civil
Procedure, as follows:

        Disclosures due from both parties by January 10, 2025.

        Rebuttals due from both parties by February 10, 2025.
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       The parties must comply with all requirements of Rule 26(a)(2) regarding
disclosure of expert testimony, and the disclosure will be considered to be in compliance
with the rule unless an objection is filed within 14 days after disclosure.

        SECTION 9. Trial Witness Lists. At least 42 days before trial, each party must,
pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure, file a list of all
witnesses and provide to all other parties the addresses and telephone numbers of all
witnesses, except witnesses to be used solely for impeachment, separately identifying
those whom the party expects to call and those whom the party may call if the need
arises. The witness list should include the names of any witnesses required to be
disclosed under Section 8. Unless specifically agreed by the parties or allowed by the
Court for good cause shown, the parties will be precluded from calling any witness not
identified. Objections to any witness identified must be filed at least 28 days before trial
and must set out the grounds and legal authority. The offering party must file a written
response to objections at least 21 days before trial.

       SECTION 10. Deposition Designations. At least 42 days before trial, each party
must, pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure, file deposition
designations it expects to use at trial. Designations must be by page and line numbers,
based on counsel’s good faith opinion that they are relevant and admissible. Designation
of entire depositions is not allowed. Within seven days after an original deposition
designation, a party must file deposition designations it expects to use in response.
Within three days after responsive deposition designations are filed, a party must file
deposition designations it expects to use in rebuttal. Unless specifically agreed by the
parties or allowed by the Court for good cause shown, a party may not use any part of a
deposition or other document not designated unless used solely for impeachment.
Objections to deposition designations are due 28 days before trial and must state with
particularity the portions objected to and attach a copy of the portions to which the
objections apply. Responses to objections are due 21 days before trial.

        SECTION 11. Trial Exhibits. At least 42 days before trial, the parties must,
pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure, file exhibit lists and
furnish opposing counsel for copying and inspecting all exhibits and tangible evidence to
be used at the trial. All evidence must be marked for identification before trial. The
list must identify specifically and separately by exhibit number each document to be
offered, and general or bulk designations are not allowed. Unless specifically agreed by
the parties or allowed by the Court for good cause shown, the parties may not offer
evidence not furnished and identified unless used solely for impeachment. Objections to
trial exhibits are due 28 days before trial and must state the grounds and legal authorities
and include a pre-marked copy of the evidence at issue. Responses to objections are due
21 days before trial.
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        SECTION 12. For Jury Trials: Requested voir dire questions, motions in limine
fully briefed, and proposed jury instructions with citations of law must be filed at least 42
days before trial unless the time is shortened by the Court on motion by either party.
Parties opposing proposed voir dire questions, proposed jury instructions, or motions in
limine are required to file a response brief with citations of law at least 28 days before
trial. Trial counsel should review the Court’s jury questionnaire to avoid duplication of
matters addressed by the questionnaire, which is available at www.almd.uscourts.gov/
jurors/juror-information.

       SECTION 13. The parties are directed to schedule an appointment with the
Automation staff at 334-954-3600 at least 28 days before trial for training if they intend
to use the courtroom’s technological equipment during trial. Attorneys wishing to use a
personal laptop during trial are required to bring all cables required for a connection.

       SECTION 14. For jury trials, the term “trial date” means the date set for jury
selection.

       SECTION 15. Discovery Plan. Except to the extent of any conflict with the
deadlines in this Order, the discovery plan contained in the Report of Parties’ Planning
Meeting is adopted and incorporated into this Order.

       SECTION 16. General Provisions.

       (A) All briefs on any matter before the Court must be formal in format and filed
with the Court. The Court does not accept “letter briefs” or “letter reports.”

        (B) A motion for extension of a deadline (i) must be in writing; (ii) must
indicate that movant has previously contacted counsel for all other parties in a timely
manner; and (iii) must state whether the motion is opposed. A motion that fails to meet
this requirement will be denied unless the movant offers a credible explanation for failing
to comply. Absent stated unforeseen and unavoidable circumstances beyond the control
of the movant, oral extension requests or motions are not allowed, and “eleventh hour”
extension requests will be denied.

       (C) Any proposed order should be submitted to the Court (i) as an attachment
to the motion in Adobe Acrobat PDF format and (ii) by emailing a copy to propord_pate
@almd.uscourts.gov in Word format.

       (D) If any party objects to these deadlines, the party should inform the Court
within 14 days from the date of this Order; otherwise, the Court will assume that the
deadlines are agreeable to all parties. Unless modified by a subsequent order, this Order
is binding on the parties.
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Done this 30th day of September, 2024.



                                 /s/ Kelly Fitzgerald Pate
                                 KELLY FITZGERALD PATE
                                 UNITED STATES MAGISTRATE JUDGE
